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                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


 IN RE:                                           Chapter 7

 TSI HOLDINGS, LLC,                               Case No. 17-30132 (LEAD)

 WSC HOLDINGS, LLC,                               Case No. 17-30338

 SOUTHPARK PARTNERS, LLC,                         Case No. 17-30339

 SHARON ROAD PROPERTIES, LLC,                     Case No. 17-30363

       Debtors.                                   CHAPTER 7
                                                  Jointly Administered

                         MOTION TO WITHDRAW AS COUNSEL

       NOW COMES Matthew W. Krueger-Andes of the law firm of Smith Moore

Leatherwood LLP (“Movant”) and presents this Motion to Withdraw as Counsel for creditors

Brian Wilder, Scott Jernigan, Wesley Campbell, Brian Dixon Campbell, Brian Investments,

LLC, Campbell Oil Company, and EHE Investments, LLC (“Creditors”) in the above-captioned

matters. In support of this Motion, Movant shows the Court as follows:

       1.      Movant is currently counsel of record for Creditors.

       2.      Robert R. Marcus, who is also counsel of record for Creditors, has left the law

firm of Smith Moore Leatherwood LLP and joined the law firm of Bradley Arant Boult

Cummings LLP. (See D.E. 287.)

       3.      Creditors elected to transfer this matter to Bradley Arant Boult Cummings LLP,

and Mr. Marcus will continue to act as counsel for Creditors.
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       4.      As requested in the Notice of Change of Firm/Address filed by Mr. Marcus on

July 9, 2018 (D.E. 287), all further communications and pleadings should be sent to Mr. Marcus

at the following address:

                      Robert R. Marcus
                      Bradley Arant Boult Cummings LLP
                      214 North Tryon Street, Suite 3700
                      Charlotte, NC 28202
                      Telephone: (704) 338-6020
                      Facsimile: (704) 332-8858
                      E-mail: rmarcus@bradley.com

       5.      Creditors consent to Movant’s withdrawal as counsel in this action.

       6.      Movant is submitting a proposed order contemporaneously with this Motion.

       WHEREFORE, Movant requests that the Court issue an Order allowing attorney

Matthew W. Krueger-Andes of the law firm of Smith Moore Leatherwood LLP to withdraw and

be relieved of any further duties as counsel of record for Brian Wilder, Scott Jernigan, Wesley

Campbell, Brian Dixon Campbell, Brian Investments, LLC, Campbell Oil Company, and EHE

Investments, LLC in the above-captioned matters.

       This the 17th day of July, 2018.

                                            /s/ Matthew W. Krueger-Andes__________
                                            Matthew W. Krueger-Andes
                                            N.C. Bar No. 42984
                                            SMITH MOORE LEATHERWOOD LLP
                                            101 North Tryon Street, Suite 1300
                                            Charlotte, NC 28246
                                            Telephone: 704.384.2600
                                            Facsimile: 704.384.2800
                                            matt.krueger-andes@smithmoorelaw.com

                                            Counsel for Brian Wilder, Scott Jernigan, Wesley
                                            Campbell, Brian Dixon Campbell, Brian
                                            Investments, LLC, Campbell Oil Company, and
                                            EHE Investments, LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system and have verified that such filing was sent electronically

using the CM/ECF system to all parties requesting notice through the Court’s electronic noticing

system.



       This the 17th day of July, 2018.


                                                    /s/ Matthew W. Krueger-Andes__________
                                                    Matthew W. Krueger-Andes




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